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                                *    *   *    UNBILLED        DISBURSEMENTS       *   *   *



   TYPE                                  DATE       TIMEKEEPER      DESCRIPTION                           AMOUNT
   H041 TRAVEL                           12/19/19   0695  ALM       VENDOR: ANGELA MASTRANGELO;              9.10
                                                                    INVOICE#: ALM-695/121919; DATE:
                                                                    12/19/2019 - REIMBURSEMENT FOR
                                                                    EXPENSES: TAXI TO COURT HEARING
                                                                    ON 09/25/19
                                                    TOTAL TRAVEL                                               9.10
   H042   FILING AND MISCELLANEOUS       10/17/18   0583  MDV    VENDOR: MICHAEL D VAGNONI;                1,717.00
                                                                 INVOICE#: 84065-1/MDV/101718; DATE:
                                                                 10/17/2018 - FILING FOR
                                                                 VOLUNTARY PETITION (CHAPTER 11)
                                         11/26/18   0695  ALM    VENDOR: ANGELA MASTRANGELO;                    31.00
                                                                 INVOICE#: 84065-1/ALB/112618-1; DATE:
                                                                 11/26/2018 - FILING FEE
                                                                 REIMBURSEMENT RE: NOTICE OF
                                                                 MOTION
                                         12/08/20   0583  MDV    Vendor: AMERICAN EXPRESS; Invoice#:        376.00
                                                                 84065-1/MDV/120820; Date: 12/8/2020 -
                                                                 FILING FEE FOR MOTIONS TO SELL
                                                                 WAKELING AND SELLERS PROPERTIES
                                         02/26/21   1062  WFS    Vendor: AMERICAN EXPRESS; Invoice#:             5.50
                                                                 84065-1/WFS/022621; Date: 2/26/2021 -
                                                                 DOCUMENTS PURCHASED FROM PCCP
                                                                 FOR TAX LIEN CASE E-COMMERCE
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   TYPE                              DATE       TIMEKEEPER     DESCRIPTION                             AMOUNT
                                                               ORDER NUMBER: 164165788
                                     03/05/21   0583  MDV      Vendor: AMERICAN EXPRESS; Invoice#:       376.00
                                                               84065-1/MDV/030521; Date: 3/5/2021 -
                                                               FILING FEE FOR MOTIONS TO SELL
                                                               ALBANUS AND FILLMORE PROPERTIES
                                                TOTAL FILING AND MISCELLANEOUS                          2,505.50
   H044   MEALS                      08/02/19   0695  ALM      8/2/19 BREAKFAST WITH VICTOR MAIA           21.51
                                                               & WIFE, A. BAGLANZIS, E. GEORGE, M.
                                                               VAGNONI
                                                TOTAL MEALS                                                  21.51
   S002   DOCUMENT IMAGING           10/15/18   0583  MDV                                                     2.90
                                     10/25/18   0956  AMS                                                     1.50
                                     11/28/18   0695  ALM                                                    21.40
                                     11/28/18   0695  ALM                                                     3.50
                                     11/30/18   0695  ALM      MCS MANAGEMENT SERVICES -                     27.40
                                                               11/30/18
                                     12/03/18   0583  MDV                                                 18.10
                                     12/03/18   0583  MDV                                                  0.70
                                     12/03/18   0583  MDV                                                 23.20
                                     12/03/18   0583  MDV                                                 16.60
                                     01/03/19   0339  EMG                                                  1.10
                                     01/09/19   0339  EMG                                                  0.50
                                     01/09/19   0339  EMG                                                  1.50
                                     01/28/19   1008  VM                                                   1.70
                                     02/08/19   0695  ALM                                                 48.55
                                     04/30/19   0695  ALM                                                  0.90
                                     04/30/19   0695  ALM                                                 29.80
                                     05/01/19   0695  ALM                                                 20.80
                                     05/01/19   0695  ALM                                                 65.80
                                     05/01/19   0695  ALM                                                636.85
                                     05/02/19   0339  EMG                                                  2.70
                                     05/02/19   0695  ALM                                                  3.50
                                     05/02/19   0695  ALM                                                  2.30
                                     05/02/19   0695  ALM                                                  0.70
                                     07/15/19   0583  MDV                                                  1.50
                                     07/15/19   0583  MDV                                                 40.30
                                     07/15/19   0583  MDV                                                 40.30
                                     08/09/19   0055  ORM                                                  2.10
                                     08/09/19   0055  ORM                                                  5.10
                                     08/09/19   0695  ALM                                                  0.70
                                     08/09/19   0695  ALM                                                  5.10
                                     08/09/19   0695  ALM                                                  0.70
                                     08/12/19   0055  ORM                                                  0.70
                                     08/12/19   1008  VM                                                   0.50
                                     08/12/19   0055  ORM                                                  0.70
                                     08/12/19   0055  ORM                                                  0.70
                                     08/13/19   0695  ALM                                                  4.90
                                     08/13/19   0695  ALM                                                  5.10
                                     08/13/19   0695  ALM                                                  0.70
                                     08/13/19   0695  ALM                                                  0.70
                                     08/13/19   0695  ALM                                                  4.10
                                     08/13/19   0695  ALM                                                  0.50
                                     08/13/19   0695  ALM                                                  4.10
                                     08/13/19   0695  ALM                                                  0.70
                                     08/13/19   0695  ALM                                                  0.70
                                     08/13/19   0695  ALM                                                  4.70
                                     08/13/19   0695  ALM                                                  5.10
                                     08/13/19   0695  ALM                                                  1.90
                                     08/13/19   0695  ALM                                                  1.10
                                     08/13/19   0695  ALM                                                  3.90
                                     08/13/19   0695  ALM                                                  3.90
                                     08/13/19   0695  ALM                                                  5.10
                                     08/13/19   0695  ALM                                                  1.10
                                     08/13/19   0695  ALM                                                  0.70
                                     08/13/19   0695  ALM                                                  4.90
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   TYPE                              DATE       TIMEKEEPER      DESCRIPTION               AMOUNT
                                     08/13/19   0695  ALM                                     3.50
                                     08/13/19   0695  ALM                                     3.50
                                     08/13/19   0695  ALM                                     0.70
                                     08/13/19   0695  ALM                                     0.70
                                     08/13/19   0695  ALM                                     1.30
                                     08/13/19   0695  ALM                                     1.90
                                     08/13/19   0695  ALM                                     1.30
                                     08/13/19   0695  ALM                                     1.90
                                     08/13/19   0695  ALM                                     1.90
                                     08/13/19   0695  ALM                                    11.20
                                     08/13/19   0695  ALM                                    71.20
                                     08/13/19   0695  ALM                                     1.90
                                     08/13/19   0695  ALM                                    94.00
                                     08/13/19   0695  ALM                                   774.10
                                     08/13/19   0695  ALM                                     0.90
                                     08/13/19   0695  ALM                                     0.70
                                     08/13/19   0695  ALM                                     0.70
                                     08/13/19   0695  ALM                                     1.30
                                     08/13/19   0695  ALM                                     0.90
                                     08/19/19   0695  ALM                                     1.10
                                     08/19/19   0695  ALM                                    28.00
                                     08/19/19   0695  ALM                                     1.10
                                     08/27/19   0695  ALM                                     4.10
                                     08/27/19   0695  ALM                                     4.10
                                     08/28/19   0695  ALM                                     2.10
                                     08/28/19   0695  ALM                                     5.30
                                     08/28/19   0695  ALM                                     0.70
                                     08/28/19   0695  ALM                                     1.10
                                     08/28/19   0695  ALM                                     6.50
                                     08/28/19   0695  ALM                                     6.90
                                     08/29/19   0695  ALM                                     0.50
                                     09/12/19   0695  ALM                                     1.10
                                     09/13/19   0695  ALM                                     5.50
                                     09/13/19   0695  ALM                                     2.10
                                     09/20/19   0695  ALM                                     0.70
                                     09/20/19   0695  ALM                                     0.70
                                     09/20/19   0695  ALM                                     2.10
                                     09/20/19   0695  ALM                                     3.70
                                     09/24/19   1008  VM                                      0.70
                                     10/07/19   0055  ORM                                     0.50
                                     10/07/19   0055  ORM                                     0.50
                                     10/07/19   0055  ORM                                     0.50
                                     10/07/19   0055  ORM                                     0.50
                                     10/08/19   0055  ORM                                     2.30
                                     10/10/19   0695  ALM                                     0.70
                                     10/10/19   0695  ALM                                     1.50
                                     10/10/19   0695  ALM                                     1.50
                                     10/10/19   0695  ALM                                     0.70
                                     10/10/19   0695  ALM                                     0.70
                                     10/10/19   0695  ALM                                     5.50
                                     10/10/19   0695  ALM                                     2.10
                                     10/11/19   1008  VM                                      5.30
                                     10/14/19   0695  ALM                                     0.50
                                     10/14/19   0695  ALM                                     0.50
                                     10/14/19   0695  ALM                                     0.50
                                     10/14/19   0695  ALM                                     0.50
                                     10/14/19   0695  ALM                                     0.50
                                     11/13/19   0695  ALM                                     0.50
                                     12/09/19   0695  ALM                                     5.50
                                     12/09/19   1031  CMS                                     5.10
                                     12/09/19   1031  CMS                                     5.50
                                     12/10/19   0695  ALM                                     0.50
                                     12/10/19   0695  ALM                                     0.50
                                     12/10/19   0695  ALM                                     0.50
                                     12/10/19   0695  ALM                                     0.50
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   TYPE                              DATE       TIMEKEEPER    DESCRIPTION                           AMOUNT
                                     12/10/19   0695  ALM                                                0.50
                                     03/02/21   0339  EMG                                                2.10
                                     04/08/21   0339  EMG     2 PRINTS - 04/08/21                        0.40
                                     07/28/21   1031  CMS     11175 PRINTS - 07/28/21                1,678.75
                                     07/30/21   1031  CMS     2440 PRINTS - 07/30/21                   368.50
                                                TOTAL DOCUMENT IMAGING                               4,229.65
   S003   POSTAGE                    10/24/18   0339  EMG                                               35.09
                                     12/03/18   0695  ALM     POSTAGE - 12/3/18                         49.40
                                     12/03/18   0583  MDV     POSTAGE -12/03/18                         20.21
                                     01/09/19   1011  HCB     POSTAGE - 01/09/19                         0.47
                                     02/08/19   0695  ALM     POSTAGE - 02/08/19                        21.50
                                     05/01/19   0695  ALM     POSTAGE - 05/01/19                       127.60
                                     05/02/19   0695  ALM     POSTAGE - 05/02/19                         2.20
                                     06/06/19   0695  ALM     POSTAGE                                   24.00
                                     08/13/19   0695  ALM     POSTAGE - 08/13/19                       148.60
                                     12/14/20   0583  MDV                                               26.35
                                     03/18/21   1031  CMS                                                0.71
                                     04/27/21   0583  MDV                                                0.51
                                     07/29/21   1031  CMS                                              453.15
                                                TOTAL POSTAGE                                          909.79
   S008   HAND DELIVERY              01/28/19   0695  ALM     HAND DELIVERY - TO CITY OF                 7.00
                                                              PHILA./OFFICE OF SHERIFF, LAND
                                                              TITLE BLDG - 01/28/19
                                     03/06/19   0695  ALM     HAND DELIVERY - TO JEWELL                    7.00
                                                              WILLIAMS, OFFICE OF THE SHERIFF -
                                                              03/06/19
                                                TOTAL HAND DELIVERY                                       14.00
   S015   CONFERENCE CALL            12/15/20   1062  WFS                                                 18.42
                                     01/29/21   1062  WFS                                                 11.15
                                     02/03/21   1062  WFS                                                  9.28
                                     03/19/21   1062  WFS                                                  2.17
                                     03/25/21   1062  WFS                                                  9.28
                                                TOTAL CONFERENCE CALL                                     50.30
   S041   TRAVEL                     12/13/19   0695  ALM     PAYEE: OBERMAYER REBMANN                    16.00
                                                              MAXWELL & HIPPEL LLP; REQUEST#:
                                                              76682; DATE: 12/13/2019.

                                                                TRAVEL TO/FROM FEDERAL COURT
                                                                HOUSE FOR HEARING 11/13/2019
                                                TOTAL TRAVEL                                           16.00
   S060   LEXIS                      04/09/19   0695  ALM                                               0.62
                                     12/09/19   1049  TNF                                              30.62
                                     12/09/19   1049  TNF                                               4.28
                                     12/09/19   1049  TNF                                               4.28
                                     12/09/19   1049  TNF                                               4.28
                                     12/09/19   1049  TNF                                               4.28
                                     12/14/20   1062  WFS                                              31.62
                                     12/15/20   1062  WFS                                              63.26
                                     12/15/20   1062  WFS                                               4.28
                                                TOTAL LEXIS                                           147.52
   S062   MESSENGER DELIVERY         10/17/18   0956  AMS    FED EX - TO GARY F. SEITZ, ESQUIRE,       13.82
                                                             GELLERT SCALI BUSENKELL & BROW -
                                                             10/17/18
                                     12/03/18   0695  ALM    FED EX - TO PNC BANK - 12/03/18              13.47
                                     12/03/18   0695  ALM    FED EX - TO PAMELA ELCHERT                   13.47
                                                             THURMOND, CITY OF PHILADELPHIA,
                                                             WATER DEP. - 12/03/18
                                     12/03/18   0695  ALM    FED EX - TO DENISE A. KUHN,                  13.47
                                                             COMMONWEALTH OF PA DEPT OF REV
                                                             - 12/03/18
                                     12/07/18   0339  EMG    FED EX - TO ED ROSENBERGER -                 17.89
                                                             12/07/18
                                     12/09/20   1031  CMS    FEDEX - REBECCA A SOLARZ ESQ, KML            15.52
                                                             LAW GROUP P.C., PHILA, PA - 12/9/20
                                     12/09/20   1031  CMS    FEDEX - MIKE D PFEIFFER ESQ,                 15.52
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                                                             BUCHANAN INGERSOLL & ROONEY PC,
                                                             PHILA, PA - 12/9/20
                                     12/09/20   1031  CMS    FEDEX - STEPHEN L NEEDLES ESQ,               20.38
                                                             STEPHEN L NEEDLES & ASSOCIATES,
                                                             SOUTHAMPTON, PA - 12/9/20
                                     12/09/20   1031  CMS    FEDEX - DENISE A KUHN ESQ, OFFICE            15.52
                                                             OF ATTORNEY GENERAL, PHILA, PA -
                                                             12/9/20
                                     12/09/20   1031  CMS    FEDEX - PAMELA ELCHERT                       15.52
                                                             THURMOND ESQ, DEPUTY CITY
                                                             SOLICITOR, PHILA, PA - 12/9/20
                                     12/09/20   1031  CMS    FEDEX - JILL MANUEL-COUGHLIN ESQ,            15.52
                                                             POWERS KIRN & ASSOCIATES LLC,
                                                             FEASTERVILLE-TREVOSE, PA - 12/9/20
                                     12/09/20   1031  CMS    FEDEX - GEORGE M CONWAY, US                  15.52
                                                             TRUSTEE, PHILA, PA - 12/9/20
                                     03/05/21   1031  CMS    FEDEX - S&Z REAL ESTATE LLC, PHILA,          16.86
                                                             PA - 3/5/21
                                                TOTAL MESSENGER DELIVERY                              202.48

                                                                TOTAL UNBILLED DISBURSEMENTS        $8,105.85
